     Case 2:19-bk-14989-WB               Doc 629 Filed 02/24/20 Entered 02/24/20 15:33:39                                Desc
                                           Main Document Page 1 of 2



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 5                                                                                         CLERK U.S. BANKRUPTCY COURT
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                                   UNITED STATES BANKRUPTCY COURT
 9
                                    CENTRAL DISTRICT OF CALIFORNIA
10
                                              LOS ANGELES DIVISION
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     In re:                                                     Case No. 2:19-bk-14989-WB
13                                                              Jointly Administered:
14            SCOOBEEZ, et al.1,                                2:19-bk-14991-WB, and 2:19-bk-14997-WB
                                                                Chapter 11
15
                                                            ORDER CONTINUING HEARINGS ON
                                                 Debtor(s). AMAZON LOGISTICS, INC.’S MOTION
16
                                                            FOR AN ORDER (A) DETERMINING THAT
17                                                          THE AUTOMATIC STAY DOES NOT
                                                            REQUIRE AMAZON TO UTILIZE
18   Affects:                                               DEBTOR'S SERVICES, AND (B)
     ■ All Debtors                                          MODIFYING THE AUTOMATIC STAY AND
19   □ Scoobeez, ONLY                                       SCHEDULING AND CASE MANAGEMENT
     □ Scoobeez Global, Inc., ONLY                          CONFERENCE IN A CHAPTER 11 CASE
20
     □ Scoobur LLC, ONLY.
                                                                Current hearing:
21                                                              Date:       February 25, 2020
                                                                Time:       10:00 a.m.
22                                                              Courtroom: 1375
23
                                                                Continued hearing:
24                                                              Date:      March 16, 2020
                                                                Time:       10:00 a.m.
25                                                              Courtroom: 1375
26
27
     1
      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
28   Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
     Foothill Boulevard, in Glendale, California 91214.




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 1         The Court hereby continues the hearings on (1) Amazon Logistics, Inc.’s Motion for an
 2   Order (A) Determining that the Automatic Stay does not Require Amazon to Utilize Debtor's
 3   Services, and (B) Modifying the Automatic Stay and (2) Scheduling and Case Management
 4   Conference in a Chapter 11 Case from February 25, 2020 at 10:00 a.m. to March 16, 2020 at
 5   10:00 a.m.
 6                                                      ###
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          Date: February 24, 2020
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